            Case 1:17-cr-00243-JLT-SKO Document 18 Filed 11/16/17 Page 1 of 3


 1 PHILLIP A. TALBERT
   United States Attorney
 2 MICHAEL G. TIERNEY
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 1:17-CR-00243-LJO (SKO)

12                                 Plaintiff,             STIPULATION AND ORDER BETWEEN THE
                                                          UNITED STATES AND SHERRY LYNN
13                          v.                            HERBERT

14   JOHN ALAN BALLARD, et al

15                                 Defendant.

16

17

18                                                STIPULATION

19

20          WHEREAS, the discovery in this case is voluminous and contains a large amount of personal

21 information including but not limited to Social Security numbers, dates of birth, financial account

22 numbers, credit card numbers, telephone numbers, residential addresses, tax returns and supporting

23 documents, and confidential business and accounting records (“Protected Information”); and,

24          WHEREAS, the parties desire to avoid both the necessity of large scale redactions and the

25 unauthorized disclosure or dissemination of Protected Information to anyone not a party to the court

26 proceedings in this matter;

27          The parties agree that entry of a stipulated protective order is appropriate.

28          THEREFORE, defendant SHERRY LYNN HERBERT, by and through her counsel of record

                                                          1

30
            Case 1:17-cr-00243-JLT-SKO Document 18 Filed 11/16/17 Page 2 of 3


 1 Martin Taleisnik (“Defense Counsel”), and plaintiff, the United States of America, by and through its

 2 counsel of record, hereby agree and stipulate as follows:

 3          1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 4 Criminal Procedure, and its general supervisory authority.

 5          2.      This Order pertains to all discovery provided to or made available to Defense Counsel as

 6 part of the discovery in this case (hereafter, collectively known as the “discovery”).

 7          3.      By signing this Stipulation and Protective Order, Defense Counsel agrees not to share or

 8 provide any documents that contain Protected Information with anyone other than Defense Counsel and

 9 designated defense investigators and support staff.

10          4.      The parties agree that Defense Counsel, defense investigators, and support staff shall only

11 provide the defendant with copies of documents subject to these agreements:

12                  a)       The defendant shall only be provided with copies of documents that do not

13          contain Protected Information or copies of documents from which Protected Information has

14          been redacted.

15                  b)       Defense Counsel may permit the defendant to view unredacted documents in the

16          presence of her attorney, defense investigators and support staff.

17                  c)       The parties agree that Defense Counsel, defense investigators, and support staff

18          shall not allow the defendant to copy or record Protected Information contained in the discovery.

19          5.      The discovery and information therein may be used only in connection with the litigation

20 of this case and for no other purpose. The discovery is now and will forever remain the property of the

21 United States Government. Defense Counsel will return the discovery to the Government or certify that

22 it has been destroyed at the conclusion of the case.

23          6.      Defense Counsel will store the discovery in a secure place and will use reasonable care to

24 ensure that it is not disclosed to third persons in violation of this agreement.

25          7.      Defense Counsel shall be responsible for advising the defendants, employees, other

26 members of the defense team, and defense witnesses of the contents of this Stipulation and Order.

27          8.      In the event that the defendant substitutes counsel, undersigned Defense Counsel agrees

28 to withhold discovery from new counsel unless and until substituted counsel agrees also to be bound by
                                                          2

30
              Case 1:17-cr-00243-JLT-SKO Document 18 Filed 11/16/17 Page 3 of 3


 1 this Order or the Court modifies this Order regarding such transfer of discovery.

 2            IT IS SO STIPULATED.

 3 Dated: October 26, 2017                                  PHILLIP A. TALBERT
                                                            United States Attorney
 4

 5                                                          /s/ MICHAEL G. TIERNEY
                                                            MICHAEL G. TIERNEY
 6                                                          Assistant United States Attorney

 7 Dated: October 26, 2017

 8                                                          /s/ MARTIN TALEISNIK
                                                            MARTIN TALEISNIK
 9                                                          Counsel for Defendant Sherry Lynn Herbert

10

11

12                                                  ORDER

13

14 IT IS SO ORDERED.

15
     Dated:     November 15, 2017                                 /s/   Sheila K. Oberto         .
16                                                   UNITED STATES MAGISTRATE JUDGE

17

18

19

20

21

22

23

24

25

26

27

28
                                                        3

30
